                                Case 1:07-cr-00212-AWI Document 178 Filed 06/30/10 Page 1 of 3
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                           4

                           5
                                Attorney for ADRIAN CONTRERAS
                           6

                           7                                     UNITED STATES DISTRICT COURT

                           8                                   EASTERN DISTRICT OF CALIFORNIA

                           9

                       10      UNITED STATES OF AMERICA                               )       CASE NO. 1:07-cr-00212-AWI
                                                                                      )
                       11                                 Plaintiff,                  )       DEFENDANT ADRIAN CONTRERAS’
                                                                                      )       MOTION FOR AN ORDER
                       12               vs.                                           )       RECONVEYING PROPERTY POSTED
                                                                                      )       AS BOND FOR PRETRIAL RELEASE,
                       13      ADRIAN CONTRERAS,                                      )       AND PROPOSED ORDER
                                                                                      )
                       14                                 Defendant,                  )
                               ----------------------------------------------------- )
                       15                                                                     HONORABLE ANTHONY W. ISHI

                       16
                               TO: HONORABLE JUDGE ANTHONY ISHI:
                       17
                                        COMES NOW Adrian Contreras, by and through his attorney of record, Mario DiSalvo,
                       18
                               and hereby respectfully requests this Honorable Court, order the reconveyance of the property
                       19

                       20      previously posted in this case as a bond in order to secure defendant’s pretrial release.

                       21               Final judgment having been entered in this case on March 29, 2010 and defendant having
                       22      been sentenced to a term of imprisonment of 24 months, this matter is now concluded.
                       23
                               Furthermore, Defendant has self-surrendered on May 27,2010 per order of the Court.
                       24

                       25
                               ///
                       26

                       27      ///

                       28      ///



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 Phone (559) 442-1552                                                                     1
                                Case 1:07-cr-00212-AWI Document 178 Filed 06/30/10 Page 2 of 3
                           1        Therefore, Defendant respectfully request that this Court enter an order directing the

                           2   reconveyance of the property previously posted in this case.
                           3

                           4
                               Date: June 23, 2010
                           5
                                                                                              /S/ Mario DiSalvo,
                           6                                                                  Attorney for Defendant
                                                                                              ADRIAN CONTRERAS
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 Mario DiSalvo, Esq.
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                                                 Case 1:07-cr-00212-AWI Document 178 Filed 06/30/10 Page 3 of 3
                           1                                          UNITED STATES DISTRICT COURT

                           2                                           EASTERN DISTRICT OF CALIFORNIA

                           3

                           4   UNITED STATES OF AMERICA                                  )       CASE NO. 1:07-cr-00212-AWI
                                                                                         )
                           5                              Plaintiff,                     )       O R D E R
                                        vs.                                              )       RECONVEYING PROPERTY
                           6   ADRIAN CONTRERAS,                                         )
                                                          Defendant,                     )
                           7   -----------------------------------------------------)

                           8                         IT IS HEREBY ORDERD: That the Clerk of the California Eastern District Court, as

                           9   Trustee under DEED OF TRUST dated August 31, 2007, made by CARLOS MEDINA & MARIA
                       10
                               A. CONTRERAS MEDINA, Trustor, and recorded as Instrument 2007-0164866, on AUGUST 29,
                       11
                               2007, of Official Records in the Office of the County Recorder for the County of FRESNO, State
                       12
                               of California: (legal description): LOT 16 OF THE SUBDIVISION LOT 21 OF HAYS
                       13

                       14      ADDITION, IN THE CITY OF FRESNO, COUNTY OF FRESNO, STATE OF CALIFORNIA,

                       15      ACCORDING TO THE MAP THEREOF RECORDED IN BOOK 33, PAGES 33 AND 34 OF

                       16      PLATS, FRESNO COUNTY RECORDS.
                       17
                                                     Having received from holder of the obligations thereunder a written request to reconvey,
                       18
                               reciting that all sums secured by the Deed of Trust have been fully paid, all obligations thereunder
                       19
                               have been completely satisfied and said Deed of Trust and the note or notes secured thereby
                       20

                       21      having been surrendered to said Trustee for cancellation, does herenby RECONVEY without

                       22      warranty, to the person or persons legally entitled thereto, the estate now held by it thereunder.

                       23

                       24

                       25
                               IT IS SO ORDERED.
                       26
                               Dated:                 June 28, 2010
                       27                                                        CHIEF UNITED STATES DISTRICT JUDGE
                               DEAC_Signature-END:




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                               0m8i788


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